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                                                                                             United States Bankruptcy Court
                                                                                                 Southern District of Texas

                              UNITED STATES BANKRUPTCY COURT                                        ENTERED
                                SOUTHERN DISTRICT OF TEXAS                                      November 21, 2022
                                      HOUSTON DIVISION                                           Nathan Ochsner, Clerk


In re:                                                    §
                                                          §       Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                                §       Chapter 11 (Subchapter V)
                                                          §
         Debtor.                                          §

         ORDER GRANTING DEBTOR’S EMERGENCY MOTION FOR ENTRY OF ORDER
           AUTHORIZING DEBTOR TO ENTER INTO FULFILLMENT AGREEMENT

         On November 15, 2022, the above-captioned debtor and debtor-in-possession (the “Debtor” or

“FSS”) in the above-captioned chapter 11 case (the “Case”), filed its Emergency Motion for Entry of Order

Authorizing Debtor to Enter into Fulfillment Agreement (“Motion”) after due deliberation and consideration

and sufficient cause appearing therefor;

         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

         The Motion is hereby granted and the Debtor is authorized to enter into the Fulfillment Agreement

with                          . attached to the Motion as Exhibit A.

         Notice of the Motion satisfies the requirements of Bankruptcy Rule 6004(a), and the Bankruptcy Local

Rules are satisfied by such notice.

         Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order are immediately

effective and enforceable upon entry. The Debtor is authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

         This Court retains exclusive jurisdiction with respect to all matters arising from or related to the

implementation, interpretation and enforcement of this Order.




                August 02,
                November 21,2019
                             2022
